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 9
10                            UNITED STATES DISTRICT COURT
11                           CENTRAL DISTRICT OF CALIFORNIA
12
            Mary A. Walters,                                   Case No: ________________
13
14                               Plaintiff,                    Complaint For Damages
            v.
15                                                             Jury Trial Demanded
16          Allianceone Receivables
            Management, Inc.,
17
18                               Defendant.

19
20                                              INTRODUCTION
21     1.        Mary A. Walters, (“Plaintiff”), through Plaintiff's attorneys, brings this action
22               to challenge the actions of Allianceone Receivables Management, Inc.,
23               (“Defendant”), with regard to attempts by Defendant to unlawfully and
24               abusively collect a debt allegedly owed by Plaintiff, and this conduct caused
25               Plaintiff damages.
26     2.        Plaintiff makes these allegations on information and belief, with the exception
27               of those allegations that pertain to a plaintiff, which Plaintiff alleges on
28               personal knowledge.

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 1     3.    While many violations are described below with specificity, this Complaint
 2           alleges violations of the statutes cited in their entirety.
 3     4.    Unless otherwise stated, all the conduct engaged in by Defendant took place
 4           in California.
 5     5.    Any violations by Defendant were knowing, willful, and intentional, and
 6           Defendant did not maintain procedures reasonably adapted to avoid any such
 7           specific violation.
 8     6.    All violations alleged regarding the FDCPA are material violations of the
 9           FDCPA as these violations would limit the ability of a hypothetical least
10           sophisticated debtor to make an intelligent choice as to the alleged debt and
11           actions that should be taken to resolve the alleged debt.
12     7.    Through this complaint, Plaintiff does not allege that any state court judgment
13           was entered against Plaintiff in error, and Plaintiff does not seek to reverse or
14           modify any judgment of any state court.
15                                       JURISDICTION AND VENUE
16     8.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §
17           1692(k), and 28 U.S.C. § 1367 for supplemental state claims.
18     9.    This action arises out of Defendant's violations of the Fair Debt Collection
19           Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”) and the Rosenthal Fair
20           Debt Collection Practices Act, California Civil Code §§ 1788-1788.32
21           (“Rosenthal Act”).
22     10.   Plaintiff is a natural person who resides in the City of Chino, County of San
23           Bernardino, State of California.
24     11.   Plaintiff resides in San Bernardino County, as defined by 28 U.S.C. §
25           1391c(1), the judicial district in which this lawsuit is brought.
26     12.   At the time of the substantial part of the events or omissions giving rise to the
27           claim occurred, specifically, Defendant contacting Plaintiff at Plaintiff’s place
28           of employment after Plaintiff informed Defendant that it was inconvenient for

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 1           Defendant to contact Plaintiff by telephone at Plaintiff’s place of employment,
 2           Plaintiff was physically located in the City of Chino, County of San
 3           Bernardino, State of California.
 4     13.   Because a substantial part of the events or omissions giving rise to the claim
 5           occurred in San Bernardino County, venue is proper pursuant to 28 U.S.C. §
 6           1391b(2).
 7     14.   At all times relevant, Defendant conducted business within the State of
 8           California.
 9                                                    PARTIES
10     15.   Plaintiff is a natural person who resides in the City of Chino, State of
11           California.
12     16.   Defendant is located in the City of Trevose, in the State of Pennsylvania.
13     17.   Plaintiff is a natural person allegedly obligated to pay a debt, and is a
14           consumer‚ as that term is defined by 15 U.S.C. § 1692a(3).
15     18.   Defendant is a person who uses an instrumentality of interstate commerce or
16           the mails in a business the principal purpose of which is the collection of
17           debts, or who regularly collects or attempts to collect, directly or indirectly,
18           debts owed or due or asserted to be owed or due another and is therefore a
19           debt collector as that phrase is defined by 15 U.S.C. § 1692a(6).
20     19.   Plaintiff is a natural person from whom a debt collector sought to collect a
21           consumer debt which was due and owing or alleged to be due and owing from
22           Plaintiff, and is a debtor as that term is defined by California Civil Code §
23           1788.2(h).
24     20.   Defendant, in the ordinary course of business, regularly, on behalf of himself,
25           herself, or others, engages in debt collection as that term is defined by
26           California Civil Code § 1788.2(b), is therefore a debt collector as that term is
27           defined by California Civil Code § 1788.2(c).
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 1     21.   This case involves money, property or their equivalent, due or owing or
 2           alleged to be due or owing from a natural person by reason of a consumer
 3           credit transaction. As such, this action arises out of a consumer debt and
 4           “consumer credit” as those terms are defined by Cal. Civ. Code § 1788.2(f).
 5                                         FACTUAL ALLEGATIONS
 6     22.   Sometime before December 4, 2016, Plaintiff is alleged to have incurred
 7           certain financial obligations with Capital One Bank (USA), N.A.
 8     23.   These financial obligations were primarily for personal, family or household
 9           purposes and are therefore a “debt” as that term is defined by 15 U.S.C.
10           §1692a(5).
11     24.   These alleged obligations were money, property, or their equivalent, which is
12           due or owing, or alleged to be due or owing, from a natural person to another
13           person and are therefore a “debt” as that term is defined by California Civil
14           Code §1788.2(d), and a “consumer debt” as that term is defined by California
15           Civil Code §1788.2(f).
16     25.   Sometime thereafter, but before December 4, 2016, Plaintiff allegedly fell
17           behind in the payments allegedly owed on the alleged debt. As it is irrelevant
18           to this action, Plaintiff currently takes no position as to the validity of this
19           alleged debt.
20     26.   Subsequently, but before December 4, 2016, the alleged debt was assigned,
21           placed, or otherwise transferred, to Defendant for collection.
22     27.   On or about December 4, 2016, Defendant contacted Plaintiff by telephone at
23           Plaintiff’s place of employment, at which time Plaintiff informed Defendant
24           over the phone to cease contacting Plaintiff at Plaintiff’s place of employment
25           as it was inconvenient for Plaintiff to take calls at her place of employment
26           and that Plaintiff was not allowed to take calls at her place of employment.
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 1     28.   Despite Plaintiff informing Defendant over the phone to cease contacting
 2           Plaintiff at Plaintiff’s place of employment, Defendant continued to contact
 3           Plaintiff at Plaintiff’s place of employment on numerous occasions.
 4     29.   On or about December 5, 2016, Defendant contacted Plaintiff by telephone at
 5           Plaintiff’s place of employment, at which time Plaintiff again informed
 6           Defendant over the phone to cease contacting Plaintiff at Plaintiff’s place of
 7           employment as it was inconvenient for Plaintiff to take calls at work.
 8     30.   On or about January 6, 2017, January 9, 2017, through January 11, 2017,
 9           January 17, 2017, January 23, 2017, January 26, 2017 through January 28,
10           2017, February 10, 2017, February 17, 2017, February 24, 2017, March 13,
11           2017, March 27, 2017 and April 4, 2017, despite previously being informed
12           by Plaintiff that it was inconvenient for Plaintiff to receive phone calls at her
13           place of employment, Defendant continued to contact Plaintiff at Plaintiff’s
14           place of employment.
15     31.   Plaintiff believes Defendant contacted her on multiple other dates by
16           telephone at her place of employment after being informed by Plaintiff that it
17           was inconvenient for Plaintiff to receive phone calls at her place of
18           employment.
19     32.   Without the prior consent of the consumer given directly to the Defendant or
20           the express permission of a court of competent jurisdiction, Defendant
21           communicated with the consumer in connection with the collection of a debt
22           at the consumer’s place of employment when Defendant knew or had reason
23           to know that the consumer’s employer prohibited the consumer from
24           receiving such communication. Consequently, Defendant violated 15 U.S.C.
25           § 1692c(a)(3).
26     33.   Because this violated certain portions of the federal Fair Debt Collection
27           Practices Act as these portions are incorporated by reference in the Rosenthal
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 1            Fair Debt Collection Practices Act, through California Civil Code § 1788.17,
 2            this conduct or omission violated Cal. Civ. Code § 1788.17.
 3                                            CAUSES OF ACTION
 4                                                   COUNT I
 5                       FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
 6                                        15 U.S.C. §§ 1692 ET SEQ.
 7     34.    Plaintiff repeats, re-alleges, and incorporates by reference, all other
 8            paragraphs.
 9     35.    The foregoing acts and omissions constitute numerous and multiple violations
10            of the FDCPA, including but not limited to each and every one of the above-
11            cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.
12     36.    As a result of each and every violation of the FDCPA, Plaintiff is entitled to
13            any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in
14            an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,
15            reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from
16            Defendant.
17                                                  COUNT II
18           ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT (ROSENTHAL ACT)
19                                   CAL. CIV. CODE §§ 1788-1788.32
20     37.    Plaintiff repeats, re-alleges, and incorporates by reference, all other
21            paragraphs.
22     38.    The foregoing acts and omissions constitute numerous and multiple violations
23            of the Rosenthal Act, including but not limited to each and every one of the
24            above-cited provisions of the Rosenthal Act, Cal. Civ. Code §§ 1788-1788.32
25     39.    As a result of each and every violation of the Rosenthal Act, Plaintiff is
26            entitled to any actual damages pursuant to Cal. Civ. Code § 1788.30(a);
27            statutory damages for a knowing or willful violation in the amount up to
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 1           $1,000.00 pursuant to Cal. Civ. Code § 1788.30(b); and reasonable attorney’s
 2           fees and costs pursuant to Cal. Civ. Code § 1788.30(c) from Defendant.
 3                                           PRAYER FOR RELIEF
 4     WHEREFORE, Plaintiff prays that judgment be entered against Defendant, and
 5     Plaintiff be awarded damages from Defendant, as follows:
 6           •      An award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
 7           •      An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
 8                  1692k(a)(2)(A);
 9           •      An award of costs of litigation and reasonable attorney’s fees, pursuant
10                  to 15 U.S.C. § 1692k(a)(3);
11           •      An award of actual damages pursuant to California Civil Code §
12                  1788.30(a);
13           •      An award of statutory damages of $1,000.00 pursuant to Cal. Civ. Code
14                  § 1788.30(b);
15           •      An award of costs of litigation and reasonable attorney’s fees, pursuant
16                  to Cal. Civ. Code § 1788.30(c).
17     40.   Pursuant to the seventh amendment to the Constitution of the United States of
18           America, Plaintiff is entitled to, and demands, a trial by jury.
19
20     Respectfully submitted,
                                                                Hyde & Swigart
21
22
       Date: April 12, 2017                                     By: s/ Crosby S. Connolly
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                                                                       Crosby S. Connolly
24                                                                     Attorneys for Plaintiff
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